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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                                      CASE NO. 20-60954-CIV-DIMITROULEAS

  LOTTIE BARRIONUEVO,

         Plaintiff,

  vs.

  HEALTHCARE REVENUE
  RECOVERY GROUP, LLC,

        Defendant.
  ___________________________________/


                          ORDER OF DISMISSAL WITHOUT PREJUDICE


        THIS CAUSE comes before the Court on the Joint Stipulation of Dismissal Without

  Prejudice [DE 12], (the “Stipulation”), filed herein on July 21, 2020. The Court has considered

  the Stipulation and is otherwise fully advised in the premises.

        It is hereby ORDERED AND ADJUDGED as follows:
            1. The Stipulation [DE 12] is APPROVED;

            2. This case is hereby DISMISSED without prejudice;

            3. The Clerk is directed to CLOSE this case and DENY AS MOOT any

                pending motions.

         DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida,

  this 21st day of July, 2020.
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  Copies furnished to:
  Counsel of Record
